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 2
 3                          UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF WASHINGTON
 5
                                          )
 6 UNITED STATES OF AMERICA,              )
                                          ) No. CR-06-037-JLQ-1
 7                                        )     CR-06-037-JLQ-2
                          Plaintiff,      )
 8                                        )
                    vs.                   ) OFFENSE LEVEL FINDINGS
 9                                        ) OF FACT
     HOBED MUNOZ & DANNY MUNOZ,           )
10                                        )
                                          )
11                        Defendants.     )
     _____________________________ ______)
12
           A post-plea evidentiary hearing was held on this date for the purpose of
13
     determining the relevant conduct quantity of drugs to be utilized in determining the base
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     Offense Levels for the above-named Defendants. The Government was represented by
15
     Jared Kimball, Assistant United States Attorney. The Defendant Hobed Munoz appeared
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     in person and with his attorney, Robert R. Fischer, Assistant Federal Defender. The
17
     Defendant Danny Munoz appeared in person and with his attorney Bevan Maxey, Esq..
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     Mike Zidack, an agent with the Drug Enforcement Agency was sworn and testified.
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           Based upon the oral findings of the court, It Is Hereby Ordered that the quantity
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     of drugs to be utilized in the computation of the Defendant Hobed Munoz’s base Offense
21
     Level is 538.4 grams of actual methamphetamine, or 11,052 kilograms of marijuana.
22
     This computation is based upon the quantity of methamphetamine distributed by Hobed
23
     Munoz in the Counts to which he pled guilty plus the quantity of pure methamphetamine
24
     (136.3 gr.) distributed on March 28, 2006. This results in a base Offense Level of 36
25
     pursuant to the Drug Quantity Table of § 2D1.1 of the United States Sentencing
26
     Guidelines. Since Level 36 is assigned to from 500 grams to 1.5 kilograms of pure
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 1 methamphetamine and a Level 34 is assigned for from 15 to 500 grams of pure
 2 methamphetamine, the court determined that, unless precluded by law, the appropriate
 3 Offense Level for the conduct of Hobed Munoz would be an Offense Level of 35.
 4 Counsel shall submit any applicable Memorandum of Authorities concerning the court’s
 5 use of Level 35.
 6        Based upon the oral findings of the court the court determined that the base
 7 relevant conduct Offense Level for Danny Munoz would be the equivalent of 7,360
 8 Kilograms of marijuana based upon the methamphetamine and cocaine distributed in
 9 Counts 3, 6, and 7 to which he pled guilty (4,818 kilograms of marijuana) plus the 127.1
10 grams of methamphetamine distributed by Christian Munoz on November 20, 2005,
11 equivalent to 2,542 kilograms of marijuana. The resultant base Offense Level is 34.
12               The Clerk of this court shall enter this Order and forward copies to counsel
13 and to Gloria Petretee, United States Probation Officer.
14        DATED this 13th day of July 2006.
15                            ___s/ Justin L. Quackenbush
                             JUSTIN L. QUACKENBUSH
16                     SENIOR UNITED STATES DISTRICT JUDGE
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28 ORDER - 2
